             Case 2:07-cr-00165-TLN-KJN Document 202 Filed 01/04/10 Page 1 of 2


     DANNY D. BRACE, JR., #114466
1    LAW OFFICE OF DANNY D. BRACE, JR.
     901 H Street, Suite 500
2    Sacramento, CA 95814
     (916) 552-6660
3    Fax: (916) 447-0592
4    Attorney for Luis Manuel Sanchez-Aceves
5
                                 IN THE UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                                    )   Case No.: 2:07 CR 00165 LKK
     UNITED STATES OF AMERICA,                       )
9                                                    )   STIPULATION AND ORDER TO EXTEND
                    Plaintiff,                       )   TIME FOR HEARING AND TO EXCLUDE
10                                                   )   TIME
             vs.                                     )
11                                                   )
     LUIS MANUEL SANCHEZ-ACEVES,                     )
12                                                   )
                    Defendant                        )
13
             The parties agree that time beginning January 5, 2010 and extending through January 12,
14
     2010 should be excluded from the calculation of time under the Speedy Trial Act. (T-2 and T-4).
15
     The parties submit that the ends of justice are served by the Court excluding such time, so that
16
     counsel for the defendant may have reasonable time necessary for effective preparation, taking
17
     into account the exercise of due diligence, and so that the defendant may have continuity of
18
     counsel. 18 U.S.C. § 3161(h)(8)(B)(iv). The parties stipulate and agree that the interests of
19
     justice served by granting this continuance outweigh the best interests of the public and the
20
     defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).
21
             Furthermore, Defense counsel Danny D. Brace, Jr., is in Trial in Sacramento County
22
     Superior Court, Department 33, People v. Jones. Said trial is expected to conclude by January 11,
23
     2010.
24

25




                                   STIP AND ORDER TO EXTEND TIME - 1
             Case 2:07-cr-00165-TLN-KJN Document 202 Filed 01/04/10 Page 2 of 2



1            The parties further request that this matter be taken off the January 5, 2010, calendar and

2    be rescheduled to January 12, 2010 at 9:15 a.m..

3

4

5                                          Respectfully submitted,

6
     Date: 1-4-10                                          By: /s/ Danny D. Brace, Jr.,
7                                                                 DANNY D. BRACE, JR.,
                                                                  Attorney for
8
                                                                  Luis Manual Sanchez-Aceves
9

10
     Date:    1-4-10                                              By:/s/ Carolyn Delany
11                                                                Authorized to sign for Ms. Delany
                                                                  On January 4, 2010
12                                                                CAROLYN DELANY
                                                                  Assistant U.S. Attorney
13

14
     IT IS SO ORDERED:
15

16
     Dated: January 4, 2010

17

18

19

20

21

22

23

24

25




                                  STIP AND ORDER TO EXTEND TIME - 2
